476 F.2d 973
    Michael Erin MICK, by his next friend, his father, BilleeScott Mick, Individually and on behalf of allothers similarly situated, Appellants,v.Robert SULLIVAN, Principal, Lewis County High School,Weston, West Virginia et al., Appellees.
    No. 72-2160.
    United States Court of Appeals,Fourth Circuit.
    Argued Feb. 7, 1973.Decided April 16, 1973.
    
      David G. Hanlon, Harrisville, W. Va., for appellants.
      Willis O. Shay, Clarksburg, W. Va.  (John S. Holy, Weston, W. Va., on brief), for appellees.
      Before CRAVEN and RUSSELL, Circuit Judges, and MURRAY, District Judge.
      PER CURIAM.
    
    
      1
      This is a hair case brought by plaintiff as a class action seeking declaratory and injunctive relief from the application of a public school dress code regulating the style and length of male students' hair.  Even though plaintiff is not now eligible to attend the Lewis County High School, we think the case is not moot since it was brought as a class action.
    
    
      2
      The district court recognized the law of this circuit that the right to choose one's hairstyle is one aspect of the right to be secure in one's person guaranteed by the due process clause and the equal protection clauses of the Fourteenth Amendment.  Massie v. Henry, 455 F.2d 779 (1972).  Even so, the district court denied relief, expressing its sympathy with the standards and ideals of a sparsely populated local community as expressed in the school regulation, and its apprehension that long hair might have a potentially disruptive effect on school discipline.  Such a basis for decision was specifically rejected in Massie v. Henry, 455 F.2d 779, 783 (4th Cir. 1972).
    
    
      3
      The judgment of the district court will be vacated and on remand an appropriate judgment will be entered granting the declaratory and injunctive relief sought by the plaintiff and his class.
    
    
      4
      Vacated and remanded with instructions.
    
    